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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION

TRACY CAEKAERT, and CAMILLIA                 )
MAPLEY,                                      )
                                             )   Case No. __________________
                    Plaintiffs,              )
      vs.                                    )
                                             )       COMPLAINT AND JURY
WATCHTOWER BIBLE AND TRACT                   )            DEMAND
SOCIETY OF NEW YORK, INC.,                   )
WATCH TOWER BIBLE AND TRACT                  )
SOCIETY OF PENNSYLVANIA, and                 )
BRUCE MAPLEY SR.,                            )
                    Defendants.              )
                                             )
                                             )

      COMES NOW the Plaintiffs, Tracy Caekaert (“Caekaert”) and Camillia

Mapley (“Mapley”), by and through undersigned counsel, and for their causes of

action and claims for relief against the Defendants, state and allege as follows:
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                      I. PARTIES, JURISDICTION & VENUE

   1. Caekaert is a citizen and resident of Maricopa County, Arizona.

   2. Mapley is a citizen and resident of Australia.

   3. During all times relevant, Defendant Watchtower Bible and Tract Society of

New York, Inc. (“Watchtower NY”) is and was a New York corporation

conducting business in the State of Montana, with its principal place of business in

New York.

   4. During all times relevant, Defendant Watch Tower Bible and Tract Society

of Pennsylvania Inc. (“Watchtower PA”) is and was a Pennsylvania corporation

conducting business in the State of Montana, with its principal place of business in

New York.

   5. Defendant Bruce Mapley Sr. (“Mapley Sr.”) is a citizen and resident of

Jefferson County, Alabama.

   6. During all times relevant, the events and claims described in this Complaint

occurred in Big Horn County, Montana.

   7. This Court has original subject matter jurisdiction over this case pursuant to

28 U.S.C. § 1332 due to the diversity of citizenship of the parties hereto, and by

virtue of the fact that the amount in controversy exceeds the sum of seventy-five

thousand dollars ($75,000.00), exclusive of interest and costs.



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   8. This Court may properly maintain personal jurisdiction over Watchtower

NY and Watchtower PA because they are business entities operating in the State of

Montana and this judicial district who’s acts and omissions resulted in the accrual

of the tort actions plead below, were directly involved in the acts and omissions at

issue in this case, and their presence in and contacts with the State of Montana and

this judicial district are sufficient to support an exercise of jurisdiction that

comports with traditional notions of fair play and substantial justice.

   9. This Court may properly maintain personal jurisdiction over Mapley Sr.

because his acts and omissions within this federal judicial district resulted in the

accrual of the tort actions plead below, and his presence in and contacts with the

State of Montana and this judicial district are sufficient to support an exercise of

jurisdiction that comports with traditional notions of fair play and substantial

justice.

   10. Venue is proper under 28 U.S.C. § 1391 in that a substantial part of the

events or omissions giving rise to these claims occurred in this judicial district.

                        II. FACTS COMMON TO ALL CLAIMS

   At all times relevant to the claims made herein:

   11.The Jehovah’s Witness Church (“Church”) is structured hierarchically.

   12.Watchtower NY is the head of the religion and the Church and exercises

       control of the Church and the operation of local congregations.

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13.New members of the Church are given the title of Unbaptized Publisher.

14.Unbaptized Publishers can be promoted sequentially to Baptized Publisher,

   Ministerial Servant, and finally, Elder.

15.In each promotion, the local congregation recommends members for

   promotion, and Watchtower NY ultimately decides whether to promote a

   member after vetting the member.

16.Baptized Publishers, Ministerial Servants, and Elders are all agents of their

   local congregation and Watchtower NY and PA.

17.Watchtower PA is the publishing wing of the Church, responsible for

   creating and transmitting church policy and doctrine to local congregations

   and members.

18.The Church, through Watchtower NY and Watchtower PA, instructs its

   members to report wrongdoing to their local Elders, rather than reporting

   such conduct to law enforcement.

19.The Church, through Watchtower NY and Watchtower PA, controls how

   allegations of child sexual abuse committed by church members are handled.

20.The Church, through Watchtower NY and Watchtower PA, instructs and

   commands its local congregations to not report child sexual abuse to law

   enforcement or child protective services.



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21.Instead of allowing law enforcement to investigate and prosecute allegations

   of child sexual abuse by church members, the Church, through Watchtower

   NY and Watchtower PA, has adopted its own process for the investigation,

   prosecution, and punishment of church members that are accused of sexual

   abuse (the “Watchtower Protocols”).

22.Records of Watchtower’s Protocols are maintained by both the local

   congregation and Watchtower NY.

23.Pursuant to the Watchtower Protocols, when a local congregation’s Elders

   determine that allegations of sexual abuse are true, they are instructed to not

   report it to law enforcement and thereby keep it secret.

24.Pursuant to the Watchtower Protocols, when a local congregation’s Elders

   determine that allegations of sexual abuse are true, they institute one of three

   types of punishment: private reproof, public reproof, or disfellowship.

25.Pursuant to the Watchtower Protocols, when a local congregation’s Elders

   determine that allegations of sexual abuse are true the Elders merely

   announce to the local congregation that the member is being punished,

   without telling the local members what the punishment is for or warning its

   members that the person being punished is a sexual abuser.

26.Pursuant to the Watchtower Protocols, when a local congregation’s Elders

   determine that allegations of sexual abuse are true, Watchtower NY permits

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   the sexual abuser to rejoin the church without restrictions or warnings to

   others.

27.Watchtower’s Protocols have been instituted by Watchtower NY and

   Watchtower PA to supplant the mandatory reporting requirements of

   Montana with its own policy of secrecy of, and tolerance for, child sexual

   abuse.

28.By prohibiting church members from reporting sexual abuse to law

   enforcement and enacting its own Watchtower Protocols, Watchtower NY

   and Watchtower PA have accepted the unique and special responsibility of

   protecting minors from sexual predators.

29.The Watchtower Protocols is intended to protect the reputation of the church

   rather than protect people from sexual predators.

30.The Watchtower Protocols fails to take any reasonable steps to protect its

   members and members of the public, including Plaintiffs, from child sexual

   abuse.

31.The Watchtower Protocols’s published materials instructing Church

   members to not report child abuse to law enforcement effectively protecting

   sexual predators and fostering an environment within the Church that

   encouraged childhood sexual abuse without consequence.



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32.Defendant Mapley Sr. and his family, including Caekaert and Mapley,

   joined the Hardin, Montana Congregation of Jehovah Witnesses (“Hardin

   Congregation”) in or around 1973 after being recruited by Gunner Haines

   (“Haines”) and his wife, Joyce Haines.

33.At that time, Mapley Sr. had been sexually abusing Plaintiffs approximately

   twice a week for several years. The abuse occurred whenever Shirley

   Mapley left the house and generally consisted of forced oral sex and

   fondling the girls’ genitals.

34.Mapley Sr. used intimidation, threats, and force to ensure Plaintiffs were

   both compliant and remained silent about the sexual abuse.

35.Haines sexually abused Plaintiffs in his home sometime in 1976 or 1977.

36.The abuse consisted of forced oral sex on Caekaert who 11 years was

   approximately old at the time. Aff. of Shirley Gibson, ¶ 3, March 26, 2020

   (attached as Exhibit A).

37.Shortly after being sexually abused by Haines, and before 1979, Caekaert

   informed Mapley Sr. of the sexual abuse inflicted by Haines.

38. Shortly after Caekaert reported Haines’ sexual absue and before 1979,

   Haines confessed to the Elders of the Hardin Congregation that he had

   assaulted Caekaert. Ex. A at ¶ 4.



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39.At that time or shortly thereafter, Mapley Sr. self-confessed to the Elders of

   the Hardin Congregation that he had also sexually abused Plaintiffs.

40.At the time of the events set forth herein, Mapley Sr. and Haines were both

   Ministerial Servants with the Hardin Congregation, and thus agents of the

   Church, when they were sexually abusing Plaintiffs.

41.Pursuant to the Watchtower Protocols, Elder Martin Svensen (“Svensen”)

   and two other Elders investigated the allegations of sexual abuse against

   Mapley Sr. and Haines.

42.At the time of the events set forth herein, Svensen was the Senior Elder of

   the Hardin Congregation and was himself engaged in serial sexual abuse of

   children. Aff. of James Rowland, ¶¶ 4, 7, April 14, 2020 (attached as

   Exhibit B).

43.At all times relevant, Svensen, Mapley Sr., and Haines were agents of

   Watchtower NY and Watchtower PA.

44.Pursuant to the Watchtower Protocols, Mapley Sr.’s and Haines’ serial

   sexual abuse of Plaintiffs was minimized and their punishment was

   negligible, which merely consisted of the Elders announcing to the Hardin

   Congregation that the men had committed a wrongdoing, without disclosing

   any details of the wrongdoing, and temporarily relieving the men of their

   positions and duties in the Church.

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45.Pursuant to the Watchtower Protocols, none of the Defendants, nor Svensen

   or Haines, reported the sexual abuse to law enforcement or child protective

   services as required by applicable law at the time. Ex. A at ¶ 4-5.

46.Pursuant to the Watchtower Protocols, and within a year of having admitted

   to abusing Caekaert, Mapley Sr. and Haines were permitted to rejoin the

   Church in positions of authority, and as agents and representatives of the

   church. Ex. A at ¶ 6.

47.Thereafter, and because the Watchtower Protocols protects sexual predators,

   Mapley Sr. continued to sexually abuse Caekaert and Mapley throughout

   their childhood.

48.By prohibiting disclosure of sexual abuse within the church to law

   enforcement, Watchtower NY and Watchtower PA failed to take reasonable

   steps to protect children in the community, including Plaintiffs, from

   continued and repeated sexual abuse.

49.By failing to adequately investigate and punish admitted instances of sexual

   abuse within the church, Watchtower NY and Watchtower PA failed to take

   reasonable steps to protect children in the community, including Plaintiffs,

   from continued and repeated sexual abuse.




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50.The Watchtower Protocols failed to enact and implement any reasonable

   steps to prevent the continued sexual abuse of Caekaert and Mapley, and

   thereby effectively permitted and sanctioned such abuse to continue.

51.As a result of the sexual abuse perpetrated by Mapley Sr. and Haines that

   went unreported and unhindered by Svensen and the Church, Caekaert and

   Mapley have suffered severe, debilitating, lifelong emotional and

   psychological damage.

52.Defendant Mapley Sr. admitted to the commission of the act of childhood

   sexual abuse against Plaintiffs and Defendant Watchtower NY or Defendant

   Watchtower PA has a record of this admission in its possession.

53.Plaintiffs can establish that officers, directors, officials, volunteers,

   representatives, and/or agents of Defendant Watchtower NY knew, had

   reason to know, or were otherwise on notice of widespread unlawful

   childhood sexual abuse by employees, officers, directors, officials,

   volunteers, representatives, and/or agents of the Church and Watchtower NY

   failed to take reasonable steps to prevent future acts of such unlawful sexual

   abuse.

54.Plaintiffs can establish that officers, directors, officials, volunteers,

   representatives, and/or agents of Defendant Watchtower PA knew, had

   reason to know, or were otherwise on notice of sexual abuse against

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   Plaintiffs by employees, officers, directors, officials, volunteers,

   representatives, and/or agents and failed to take reasonable steps to prevent

   future acts of such unlawful sexual abuse.

55.In 1997, the Church, through Watchtower NY and Watchtower PA,

   instructed elders to send a report to Watchtower NY of anyone who is

   currently serving or who formerly served in a Watchtower appointed

   position that is known to have engaged in childhood sexual abuse. Aff. Of

   Mark O’Donnell, ¶¶ 11-12, April 15, 2020 (attached as Exhibit C).

56.Watchtower NY maintains a complete file of these reports (the “Watchtower

   Sexual Abuse Database”). Ex. C at ¶ 13.

57.Watchtower NY keeps the Watchtower Sexual Abuse Database secret. Ex.

   C at ¶ 13.

58.Upon information and belief, Watchtower NY and/or Watchtower PA are in

   possession of the Watchtower Sexual Abuse Database and other documents

   that contain evidence that Mapley Sr. and Haines admitted to sexually

   abusing Plaintiffs.

59.Recently, in other child sexual abuse cases, Watchtower NY has refused to

   produce in discovery the Watchtower Sexual Abuse Database and other

   documents in its possession that document admissions of childhood sexual

   abuse by church agents and representatives. E.g. Padron v. Watchtower

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   Bible & Tract Socy. of New York, Inc., 225 Cal. Rptr. 3d 81, 86 (Cal. App.

   4th Dist. 2017); J.W. v. Watchtower Bible and Tract Socy. of New York, Inc.,

   241 Cal. Rptr. 3d 62, 67 (Cal. App. 4th Dist. 2018), reh'g denied (Dec. 31,

   2018), review denied (Mar. 27, 2019), cert. denied, 140 S. Ct. 217 (2019).

                                       III. CLAIMS

                                First Claim: Negligence
                                    (All Defendants)

60.All of the allegations contained in the preceding paragraphs of this

   Complaint are incorporated by reference herein as if the same were set forth

   in full.

61.Defendants owed Plaintiffs the duty to act with the care that a reasonable

   person would exercise.

62.Without limitation, Defendants Watchtower NY and Watchtower PA

   breached such duty by: implementing the Watchtower Protocols; failing to

   take reasonable steps to prevent known and unknown sexual predators from

   sexually abusing children in the Church’s community; publishing material

   and directives that protected sexual predators within the Church and failed to

   protect victims of sexual abuse committed by agents and representatives of

   the Church; failing to report known sexual abuse committed by agents and

   representatives of the Church; ignoring mandatory reporting laws and


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   keeping known child sex abuse secret; failing to train its employees and

   agents to prevent, identify, investigate, respond to, or report to the proper

   authorities the sexual abuse of children; failing to properly and thoroughly

   investigate, respond to, and report the sexual abuse of Plaintiffs; employing,

   promoting, and allowing Svensen to continue to act as Senior Elder despite

   being a known child abuser; fostering an environment where sexual

   predators like Mapley Sr., Svenson, and Haines could abuse children,

   including the Plaintiffs, without consequence.

63.Defendant Mapley Sr. in both his individual capacity and as an agent and

   representative of the Church, breached such duty by sexually abusing

   Plaintiffs and failing to take reasonable steps to protect them from sexual

   abuse.

64. As a direct and proximate cause of Defendants’ breaches, Plaintiffs have

   suffered damages.

                          Second Claim: Negligence Per Se
                                  (All Defendants)

65.All of the allegations contained in the preceding paragraphs of this

   Complaint are incorporated by reference herein as if the same were set forth

   in full.




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66.Defendants violated Montana’s mandatory reporting statute as it existed at

   all times relevant to this case, including all years before 1979, by not

   reporting the sexual abuse of Plaintiffs as required by the mandatory

   reporting statute. R.C.M. 10-1304 (attached as Exhibit D).

67.Montana’s mandatory reporting statute in effect at the time that Defendants

   became aware of such abose was enacted to protect a specific class of

   people: children who are victims of abuse or neglect.

68.Plaintiffs were member of such class.

69.Plaintiffs’ injuries are the sort that the statute was enacted to prevent.

70.The statute was intended to regulate members of Defendants’ class.

71.As a direct and proximate cause of Defendants’ violation of the statute,

   Plaintiffs have suffered damages.

                            Third Claim: Battery
                                 (Mapley Sr.)
72.All of the allegations contained in the preceding paragraphs of this

   Complaint are incorporated by reference herein as if the same were set forth

   in full.

73.Defendant Mapley Sr. acted intending to cause a harmful or offensive

   contact with Plaintiffs.

74.An offensive and harmful contact with Plaintiffs occurred as a result.



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   75.As a direct and proximate cause of such intentional acts, Plaintiffs have

      suffered damages.

                                       Punitive Damages
                                        (All Defendants)

   76.All of the allegations contained in the preceding paragraphs of this

      Complaint are incorporated by reference herein as if the same were set forth

      in full.

   77. Defendants are guilty of actual malice.

   78.Defendants had knowledge of facts or intentionally disregards facts that

      created a high probability of injury to Plaintiffs and: (1) deliberately

      proceeded to act in conscious or intentional disregard of the high probability

      of injury to Plaintiffs; and/or (2) deliberately proceeded to act with

      indifference to the high probability of injury to Plaintiffs.

                                      IV. Prayer for Relief

WHEREFORE, Plaintiffs claim relief against Defendants as follows:

      a. Judgment against Defendants for general damages in amounts consistent

         with the allegations contained herein and to be established by the

         evidence at trial.




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b. Judgment against Defendants for special damages in amounts consistent

   with the allegations contained herein and to be established by the

   evidence at trial.

c. Judgment against Defendants for the costs incurred in prosecuting these

   claims, including reasonable attorneys’ fees.

d. Punitive damages in amounts consistent with the allegations contained

   herein and to be established by the evidence at trial.

e. Pre-judgment and post-judgment interest.

f. Such other and further relief as the Court deems just and equitable.

                              V.       Jury Demand

Plaintiffs hereby demand a jury trial on all issues allowed by applicable law.

DATED this 24th day of April, 2020.

                                                 /s/ Ryan Shaffer
                                                 Robert L. Stepans
                                                 Ryan R. Shaffer
                                                 James C. Murnion
                                                 Attorneys for Plaintiff




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